                                                          Case 8:21-cv-01407-DOC-JDE Document 30 Filed 11/17/21 Page 1 of 3 Page ID #:287



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                                                            3 Solana Beach, CA 92075
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                                                            5 Attorneys for Specially Appearing for Defendants
                                                              ECOMMERCE SAAS, LLC; JON LAKATOS and
                                                            6 TYLER NEUROTH
                                                            7
                                                            8                        UNITED STATES DISTRICT COURT
                                                            9        CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                                                           10
                                                           11 KHAAZRA MAARANU, an individual, Case No. 8:21-cv-01407-DOC-JDE
                                                                            Plaintiff,               SPECIALLY APPEARING
GLOBAL LEGAL LAW FIRM




                                                           12
                                                                                                     DEFENDANTS’ NOTICE OF
                        380 STEVENS A VENUE, S UITE 311




                                                           13          v.                            MOTION AND MOTION TO
                          S OLANA BEACH, CA 92075




                                                                                                     DISMISS PLAINTIFF’S FIRST
                               (888) 846-8901




                                                           14   ECOMMERCE SAAS, LLC, an Arizona AMENDED COMPLAINT
                                                                limited liability company; OFI SAAS, PURSUANT TO RULES 12(b)(1),
                                                           15   LLC, an Arizona limited liability    12(b)(2), 12(b)(3), AND 12(b)(7); AND
                                                                company; 488 CLUB, LLC, an Arizona IN THE ALTERNATIVE 12(B)(6)
                                                           16   limited liability company; JOHN
                                                                LAKATOS, an individual; JOSEPH       [NO ORAL ARGUMENT UNLESS
                                                           17   DALY, an individual, MICHAEL         REQUESTED BY THE COURT]
                                                                CARNAVELE, an individual, TYLER
                                                           18   NEUROTH, an individual; and Does 1-
                                                                100, inclusive,                      Hearing Date: December 20, 2021
                                                           19                                        Time: 8:30 a.m.
                                                                              Defendants, AND ;      Courtroom: 9D
                                                           20
                                                              ELECTRONIC COMMERCE, LLC, a
                                                           21 Delaware limited liability company,
                                                           22               Nominal Defendant.
                                                           23
                                                           24        PLEASE TAKE NOTICE THAT specially appearing Defendants Ecommerce
                                                           25 SAAS, LLC, (“ECS”) OFI SAAS, LLC, 488 Club, LLC, Jon Lakatos (“Lakatos,) and
                                                           26 Tyler Neuroth (“Neuroth,”) (and collectively “Defendants”) will move on December
                                                           27 20, 2021 at 8:30 a.m. in Courtroom 9D, for an order to dismiss all causes of action
                                                           28 in the complaint under rules 12(b)(1), 12(b)(2), 12(b)(3), and 12(b)(7), respectively.

                                                                          NOTICE OF MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
                                                          Case 8:21-cv-01407-DOC-JDE Document 30 Filed 11/17/21 Page 2 of 3 Page ID #:288



                                                            1 In the alternative, Defendants move under 12(b)(6) that the other causes of action are
                                                            2 improperly pleaded, unintelligible, and must be dismissed.
                                                            3        Local Rule 7.3 Compliance: This motion is made following a conference of
                                                            4 counsel pursuant to Local Rule 7.3, which took place on November 4, 2021.
                                                            5        This Motion is based on specially appearing Defendants submission of the
                                                            6 following memorandum points and authorities in support of their Motion to Dismiss
                                                            7 Plaintiff Khaazra MaaRanu’s First Amended Complaint (“FAC”).
                                                            8
                                                            9 Dated: November 17, 2021               GLOBAL LEGAL LAW FIRM
                                                           10
                                                           11                                        By: /s/ James C. Huber
                                                                                                         James C. Huber
GLOBAL LEGAL LAW FIRM




                                                           12                                            Attorneys for Specially Appearing
                                                                                                         for Defendants
                        380 STEVENS A VENUE, S UITE 311




                                                           13                                            ECOMMERCE SAAS, LLC; JON
                          S OLANA BEACH, CA 92075




                                                                                                         LAKATOS; and TYLER
                               (888) 846-8901




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                                                                         NOTICE OF MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
                                                          Case 8:21-cv-01407-DOC-JDE Document 30 Filed 11/17/21 Page 3 of 3 Page ID #:289



                                                            1                            CERTIFICATE OF SERVICE
                                                            2        I hereby certify that on November 17, 2021, I caused to be electronically filed
                                                            3 the foregoing document with the Clerk of the Court by using the CM/ECF system.
                                                            4 Participants in the case who are registered CM/ECF users will be served by the
                                                            5 CM/ECF system. Participants in the case who are not registered CM/ECF users will
                                                            6 be served by mail, electronic mail, or by other means permitted by the court rules.
                                                            7 September 17, 2021                               Global Legal Law Firm
                                                            8                                        By:       /s/ James C. Huber
                                                                                                               James C. Huber, Esq
                                                            9                                                  Attorney for Specially Appearing
                                                                                                               Defendants
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                                                           11
GLOBAL LEGAL LAW FIRM




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                        380 STEVENS A VENUE, S UITE 311




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                          S OLANA BEACH, CA 92075
                               (888) 846-8901




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                                                                         NOTICE OF MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED COMPLAINT
